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    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK
    -------------------------------------------------·----------)(
    JUAN RODRIGUEZ-DEPENA,

                                       Plaintiff,

            -against-

    PARTS AUTHORITY, INC., MICHIGAN
    LOGISTICS INC., and NORTHEAST LOGISTICS,
    INC. alk/a DILIGENT DELIVERY SYSTEMS,

                                       Defendants.


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   Judge, having been filed on September 30, 2016, granting the motion of Defendants to compel I

   arbitration; ordering arbitration of Plaintifrs claims; dismissing the complaint; and directing thd

   Clerk of Court to enter judgment and to close the case; it is                                         I




                     ORDERED and ADJUDGED that the motion of Defendants to compel arbitratioh

    is granted; that arbitration of Plaintifrs claims is ordered; that the complaint is dismissed; and

   that the case is closed.

   Dated: Brooklyn, New York                                               Douglas C. Palmer
          September 30, 2016                                               Clerk of Court

                                                                     by:   'Ere;ma E. Maho11ey
                                                                           Brenna B. Mahoney
                                                                           Chief Deputy for
                                                                           Court Operations
